Case 1:04-cv-01288-.]DT-STA Document 32 Filed 07/06/05 Page 1 of 2 Page|D 39

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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`2./ ' .1~¢»
vs. ) No.= 04-1288-T-An ?§’j'.{£’//;{
) "'1?;)::"/`
sTANLEY JONES REALTY, INC., )
)
Defendant. )

 

ORDER

 

Pursuant to an Order of Reference entered .Tune 28, 2005, this case has been referred to
the Magistrate Judge for a new scheduling conference

Counsel are therefore directed to confer regarding proposed deadlines and a new trial date
and submit to the Court within 15 days from entry of this Order a proposed Amended Scheduling

Order which is consistent with the Court’s normal Scheduling Order.

C§./Yz"m den

S. THOMAS ANDERSON
UNlTED STATES MAGISTRATE JUDGE

Dated: UQLQ) §§

IT IS SO ORDERED.

This document entered on the docket sheet ln corneliance

with Rule 58 and 'or 79 {a) FRCP on __, ll 21 §§

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 1:04-CV-01288 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

